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KSC/?.]B.]$J

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CJR;SNB:USAO#zmsRonm IN THE UNI'§`ED STATES\I)ISTRICT COURT
FOR THE D T C RYLAND
2019 353 §§ Fi-P§~W

UMTED STATES OF AMERICA . \ ".'"1§ `*‘1"` 1“

-5:11`1:§1L1*‘1`11"\1
v. M‘ C,-r~.C_riminal No. GLR”', iq "OQ S`
B`i'.-»~ *“_
LEKEITH DION MITCHELL, * (Conspiracy to Distribute and Possess
* with lntent to Distribute Fentanyl, 21
GARY LEE WASHINGTON '* U.S.C. §§ 846, 841(2)(1); POSS€SSi()ll With
’ * Intent to Distribute Fentanyl, 21 U.S.C.
* § 84l(a)(l); Maintaining Drug-Involved
JOENNA MARIE NICEWARNER» * Premises; 21 U.S.C. § 856(3)(1);
* Possession of Firearm in Furtherance of
DUSTIN RAY STIPES, * Drug Trafi`lcking Crime, 18 U.S.C. §
` * 1924(c); Felon In Possession, 18 U.S.C. §
LAMA JUNIOR JEAN-PIERRE, * 922(§)(1); Aiding and Abeffing, 18
* U.S.C. § 2; Forfeiture, 21 U.S.C. § 853,
* 28 U.S.C. § 2461(¢:), and 18 U.S.C.
NYANA ANGELINA CHEESE, * § 924(d)))
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Defendants *
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INDICTMENT

The Grand Jury for the Distn'ct of Maryland charges:
COUNT ONE
Frorn in or about September, 2018, and continuing through December, 2018, in the

Distn`ct of Maryland and elsewhere,

LEKEI'I`H DION MITCHELL,
GARY LEE WASHINGTON,
JOENNA MARIE NICEWARNER,
DUSTIN RAY STIPES,

LAMA JUNIOR JEAN-PIERRE,

 

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and
NYANA ANGELINA CHEESE,

1 the defendants herein, did knowingly and Willtiilly combine, conspire, confederate and agree
with persons known and unknown to the Grand Jury, to knowingly and intentionally distribute
and possess with the intent to distribute a quantity of a mixture or substance containing a
detectable amount of fentanyl, a Schedule ll controlled substance, in violation of Title 21 , United
States Code Section 841 (a)(l).

21 U.S.c. §§ 341, 846.

Quantity of Controlled Substances Involved in the Conspiracy
With respect to: LEKEITH DION MITCHELL, GARY LEE WASH]NGTON,

n JOENNA MARIE NICEWARNER, and DUSTIN RAY STIPES, the quantity of the
controlled substance in the conspiracy attributable to each of them as a result of their own
conduct, and the conduct of other conspirators reasonably foreseeable to them, is 400 grams or
more of a mixture or substance containing a detectable amount .ot` fentanyl, a Schedule II
controlled substance, in violation of 21 U.S.C. § 84l(b)(l)(A);
With respect to: LAMA JUNIOR JEAN-PIERRE and NYANA ANGELINA

CHEESE, the quantity'of the controlled substance in the conspiracy attributable-to them as a
result of their own conduct, and the conduct of other conspirators reasonably foreseeable to
them, is 40 grams or more of a mixture or substance containing a detectable amount of fentanyl,

a S_chedule ll controlled substance, in violation of 21 U.S.C. § 84l(b)(l)(B).

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COUNT TWO
The Grand Jury for the District of Maryland further charges that: _ .
On or about December 17, 2018, in the District of Maryland,
LEKEITH DION MITCBELL,
the defendant herein, did knowingly, intentionally, and unlawfully possess with the intent to
distribute 400 grams or more of a mixture or substance containing a detectable amount of |

fentanyl, a Schedule ll controlled substance

21 U.s.c. § 341(.-1)(1)
13 U.s.c. § 2

 

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COUNT THREE
The Grand Jury for the District of Maryland further charges that:
On or about Decernber 17, 2018, in the District ofMaryland,

LEKEITH DION l\rIITCHELL,

the defendant herein, did knowingly and unlawfully use and maintain the premises at 12821
Little Elliott Drive, Apartment 6, Hagerstown, Maryland, for the purpose of manufacturing,

storing, distributing, and using fentanyl, a Schedule ll controlled substance

21 U.S.C. § 856(3)(1)
18 U.S.C. § 2

 

 

 

 

 

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COUNT FOUR
The Grand Jury for the District of Maryland further charges that:
On or about December 17, 201/@, in the District of Maryland,

GARY LEE WASHINGTON,

the defendant herein, did knowingly and intentionally and unlawfully possess the following
iirearm, to wit: a Spikes Tactical ST15 Semi-Automatic Riile with serial # 46553, in furtherance of
a drug trafficking crime for which he may be prosecuted in a court of the United States, as set

forth in Count One of this lndictment, which is incorporated herein by reference

is U.s.c. § 924(¢)
is U.s.c. § 2

 

 

 

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COUNT FIVE

The Grand Jury for the District of Marylan'd further charges that:
on or about member 17, 2018 in the Disaicc of Maryiand,

GARY LEE WASHING'I`ON,

the defendant herein, having been previously convicted of a crime punishable by imprisonment
for a term exceeding one year, did knowingly and unlawfully possess the following firearm in

and affecting.interstate commerce, to Wit: a Spikes Tactical ST15 Semi-Automatic Rifle with serial

# 46553, and a loaded magazine

is u.s.c. § 922(g)(1)

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COUNT SIX

The Grand Jury for the District of Maryland further charges that:
On or about February l, 2019, in the District of Maryland,

LEKEITH DION MITCHELL,

the defendant herein, having been previously convicted of a crime punishable by imprisonment
for a term exceeding one year, did knowingly and unlawth possess the following iirearrns in
and affecting interstate commerce, to wit: a loaded Ruger P91DC (.45 ACP), serial number 663-
36062; a loaded Glock 23 Gen 4 (.40 caliber), serial number UCS?)95; a loaded Giock 19 (9xl9

caliber), serial number AFH839; and a loaded Ruger P91DC (.40 caliber)_ serial number 340-

29233.

18 U.s.c. § 922(g)(1)

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FoRFEITURE

The Grand Jury further finds that:
Pursuant to Title 21 U.S.C. § 853(a), upon conviction of one or more of the Counts in this
Indictment, each defendant shall forfeit to the United States of America:
a. any property constituting, or derived from, any proceeds obtained, directly or
indirectly, as the result of such violation, and
‘ b. any property used, or intended to be used, in any manner or part, to commit,
or to facilitate the commission of, such violation; ' l
§ § including, but not limited to:
¢ 8127,241.25, seized as part of the investigation; § §
¢ One (l) lnvicta Russian Diver Watch #17667;
¢ One (l) lnvicta Reserve Watch #90148;
0 One (1) lnvicta _Speedway Watch #25481;

' ¢ One (l) Bulova gold color watch #21228636;

 

¢ One (1) lnvicta Sl Rally model # 24224;

¢ One (i) lnvicta Boit Zeus model #22446;

¢ One (l) techno Pave No. 7758 Gold colored watch with black band;
0 One (l) Rolex brand watch “Oyster” model;

¢ One (l) Shhors Gold colored watch with blue band model # 80082;

¢ One (l) gold colored watch with black band with American flag face;

One (1) Milano Express Watch with red band;

Joe Rodeo GTS watch in black case inside white box

If any of the property described above as a result of any act or omission of the

defendants:

____%l

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a. cannot be located upon the exercise of due diligence;
b. has been transferred or sold to, or deposited with, a third person; §
c. has been placed beyond the jurisdiction of the Court;
d. has been substantially diminished in value; or
e. has been commingled with other property which cannot be subdivided Without
difhculty;

the United States of America shall be entitled to forfeiture of substitute property pursuant to 21
U.S.C. § 853(p), as incorporated by 28 U.S.C. § 2461(c) up to the value of the property charged

with forfeiture above.

 

As a result of the offenses set forth in Counts Four, Five, and Six, of this indictment, the
Defendants, GARY LEE WASHINGTON and LEKEITH I)ION MITCHELL shall forfeit to
the United States the firearms and ammunition identilied in Counts Four, Five, and Six of the
indictment

21 U.S.C. § 853; 28 U.S.C. § 2461(0);,Rule 32.2(a), Fed. R. Crim. P.; 18 U.S.C. § 924(d).

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Robert K. Hur
United States Attorney

 

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